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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )
                                                  )          No. 6:22-CR-2-REW-HAI-2
 v.                                               )
                                                  )
 BRET ALAN HATFIELD,                              )                    ORDER
                                                  )
       Defendant.                                 )
                                                  )
                                                  )
                                        *** *** *** ***

       After conducting Rule 11 proceedings, see DE 114 (Minute Entry), Judge Ingram

recommended that the undersigned accept Defendant Bret Alan Hatfield’s guilty plea and adjudge

him guilty of Count One of the Second Superseding Indictment (DE 43). See DE 115

(Recommendation); see also DE 113 (Plea Agreement). Judge Ingram expressly informed

Defendant of his right to object to the recommendation and to secure de novo review from the

undersigned. See DE 115 at 2–3. The established three-day objection deadline has passed, and no

party has objected.

       The Court is not required to “review . . . a magistrate [judge]’s factual or legal conclusions,

under a de novo or any other standard, when neither party objects to those findings.” Thomas v.

Arn, 106 S. Ct. 466, 472 (1985); see also Berkshire v. Dahl, 928 F.3d 520, 530 (6th Cir. 2019)

(quoting Kensu v. Haigh, 87 F.3d 172, 176 (6th Cir. 1996)) (alterations adopted) (noting that the

Sixth Circuit has “long held that, when a defendant does ‘not raise an argument in his objections

to the magistrate [judge]’s report and recommendation he has forfeited his right to raise this issue

on appeal.’”); United States v. Olano, 133 S. Ct. 1770, 1777 (1993) (distinguishing waiver and
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forfeiture); FED. R. CRIM. P. 59(b)(2)-(3) (limiting de novo review duty to “any objection” filed);

28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the recommendation

“to which objection is made”).

        The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

        1. The Court ADOPTS DE 115, ACCEPTS Hatfield’s guilty plea, and ADJUDGES

           Hatfield guilty of Count One of the Second Superseding Indictment (DE 43); and

        2. The Court will issue a separate sentencing order. 1

        This the 14th day of November, 2022.




1
  At the hearing, Judge Ingram remanded Hatfield to custody. See DE 114. The Court, thus, sees no need
to further address detention at this time. Hatfield shall remain in custody pending sentencing.
